Case 2:03-cv-02095-SH|\/| Document43 Filed 08/01/05 Pagelon Page| 68
¢X!@o.o

.FKEDEW.s
UNITED sTATEs DISTRICT cotm'r

wEsTERN D:csTRIc'r oF TENNESSEE 05 mg ..\ m\[): 32
wEsTERN DIvIsIoN

XHOW\S M. GOULD
mms manpqu
wm (3:'-‘ \,` @S@-:MEHH¥:»
JEFF WOODARD ,
Plaintiff,
va Cv¢ No. 03-2095-Ma.
GEORGE M . LITTLE , in hi S Of f icial
capacity as Director of Shelby County
Correctional Center, and SHELBY COUNTY
GO'V'ERNMENT ,
Defendants.
JTJIX§NDIBEF
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order of Dismissal With Prejudice, docketed
July 28, 2005. Each party shall bear its own costs.

I¥PIHRF:ZE;:L/ra
SAMUEL H. M.AYS, JR.

UNITED STATES DISTRICT JUDGE

j"u»l '\-1,'1..»¢={

 

was M. eou\.o

LXCZMM/

(By) DEP@+Y cLEJzK

 

DATE CL

This document entered on the docket sheet in compliance
wthmeBSanmor?Bw)FRCPon ’

 

UNITED sTATES DRISTIC COURT - WERNSTE DISITRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:03-CV-02095 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Kathleen L. Caldwell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

Memphis7 TN 38104

M. Dell Stiner

THE WHARTON FIRM
147 Jefferson Avenue
Ste. 1205

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

